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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.      2:21-cv-07730-JFW-SHK                                 Date: November 19, 2021
 Title: Angel Sanchez v. Warden



Present: The Honorable Shashi H. Kewalramani, United States Magistrate Judge

               D. Castellanos                                        Not Reported
               Deputy Clerk                                          Court Reporter

   Attorney(s) Present for Petitioner(s):                Attorney(s) Present for Respondent(s):
               None Present                                           None Present

Proceedings (IN CHAMBERS): ORDER TO SHOW CAUSE


         On September 27, 2021 the Court received Petitioner Angel Sanchez’s (“Petitioner”)
Petition for Writ of Habeas Corpus By a Person in State Custody (“Petition”) under 28 U.S.C.
§ 2254 (“§ 2254”). Electronic Case Filing Number (“ECF No.”) 1, Petition. On October 4,
2021, the Court issued an Amended Order to Dismiss with Leave to Amend (“ODLA”) on the
grounds that Petitioner failed to name a respondent or to assert any facts or any grounds for
relief. ECF No. 6, ODLA at 1. The ODLA required Petitioner to file a “First Amended Petition
(“FAP”) by November 4, 2021 that is complete in itself, does not incorporate by reference
any other pleading, lists the appropriate respondent, and sets forth clearly each claim
which Petitioner intends to raise in this proceeding and the factual basis for each claim.”
Id. at 3 (emphasis added). Petitioner was “warned that [f]ailure to file a FAP by the above noted
deadline may result in a recommendation that this case be dismissed, with or without prejudice,
for failure to prosecute and follow Court orders in violation of Federal Rule of Civil Procedure
41(b).” Id. Additionally, Local Rule 15-2 states that “[e]very amended pleading filed as a
matter of right or allowed by order of the Court shall be complete including exhibits. The
amended pleading shall not refer to the prior, superseded pleading.” L.R. 15-2 (emphasis
added).

        Rather than filing a FAP, on October 27, 2021, Petitioner filed a Notice with the Court
(“Notice”) that stated “this is the name of the warden Teresa [C]isneros at the facility in which
the petitioner is incarcerated.” ECF No. 7, Notice at 1. The Notice was the last submission
Petitioner filed with the Court, and as of this date, Petitioner has not filed a FAP as ordered.



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         Consequently, Petitioner is ORDERED TO SHOW CAUSE by December 10, 2021 why
the case should not be dismissed for Petitioner’s failure to file a FAP as ordered. Petitioner can
satisfy this order by filing a FAP that (1) includes the name of the warden in the FAP, rather than
in a second document, and (2) includes allegations of the claims to be addressed.

        Petitioner is warned that if Petitioner fails to move forward with the directions
listed above, the Court may deem such failure as a further violation of a Court order
justifying dismissal, and the Court may also deem such a failure as further evidence of a
lack of prosecution on Petitioner’s part.

        IT IS SO ORDERED.




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